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Exhibit A

RLF1 11276319v.]
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re: ) Chapter 11

)
ENERGY FUTURE HOLDINGS CORP., et a.,! —-)- Case No. 14-10979 (CSS)

)
Debtors. } Gointly Administered)

)

AMENDED ORDER AUTHORIZING THE DEBTORS
TO FILE UNDER SEAL THE CERTAIN PORTIONS OF COMMERCIALLY
SENSITIVE INFORMATION SET FORTH IN THE DEBTORS’ MOTION FOR
ENTRY OF AN ORDER APPROVING THE 2015 COMPENSATION PROGRAMS

Upon the Motion (the “Motion”)? of Energy Future Holdings Corporation (“EFH”)
(together with the other above-captioned debtors and debtors in possession, the “Debtors”), for
entry of an order (this “Order”): (a) authorizing the Debtors to file under seal commercially

sensitive information (“Commercially Sensitive Information”) in the Debtors’ Motion for Entry

of an Order Approving the 2015 Compensation Programs (2015 Compensation Programs

Motion”), including portions of the supporting declaration of Todd W. Filsinger (the “Filsinger
Declaration”); and (b) directing that this information remain under seal, confidential, and not be
made available to anyone without the consent of the Debtors or further order from the Court; and
the Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and the Court having found that venue of this proceeding and the Motion in this

| The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the

debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com,

Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
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district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the
relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and
other parties in interest; and the Court having found that the Debtors provided appropriate notice
of the Motion and the opportunity for a hearing on the Motion under the circumstances; and the
Court having reviewed the Motion and having heard the statements in support of the relief
requested therein at a hearing, if any, before the Court (the “Hearing”); and the Court having
determined that the legal and factual bases set forth in the Motion and at the Hearing establish
just cause for the relief granted herein; and upon all of the proceedings had before the Court; and
after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

1. The Motion is granted as set forth herein.

2, The Debtors are authorized to file under seal the unredacted portions of the 2015
Compensation Programs Motion and the Filsinger Declaration pursuant to sections 105{a) and
107(b) of the Bankruptcy Code, Bankruptcy Rule 9018, and Local Bankruptcy Rule 9018-1.

3, The unredacted portions of the 2015 Compensation Programs and the Filsinger
Declaration are confidential, shall remain under seal, and shall not be made available to anyone
without the consent of the Debtors, except that copies of these sealed materials shall be provided
to (i) the Court, (ii) the Trustee on a highly confidential basis upon request, and (iii) on a highly
confidential basis upon request, professionals for the Official Committee of Unsecured Creditors,
the EFH Committee, the ad hoc group of TCEH First Lien creditors, ad hoc group of TCEH
Unsecured creditors, TCEH Second Lien Indenture Trustee, Fidelity, ad hoc group of EFH
Legacy noteholders, ad hoc group of EFIH Unsecured creditors, and ad hoc group of EFIH

Second Lien creditors.
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4, Notice of the Motion as provided therein shall be deemed good and sufficient and
the requirements of the Local Bankruptcy Rules are satisfied by such notice.

5. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
9014 or otherwise, the terms and conditions of this Order shali be immediately effective and
enforceable upon its entry.

6. All time periods set forth in this Order shali be calculated in accordance with
Bankruptcy Rule 9006(a).

7. This order is without prejudice to the rights of any party in interest to seek to
declassify and make public any portion of the material filed under seal.

8. The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to this Order in accordance with the Motion.

9. The Court retains exclusive jurisdiction with respect to all matters arising from or
related to the implementation of this Order.

Wilmington, Delaware
Dated: , 2014

THE HONORABLE CHRISTOPHER S$. SONTCHI
UNITED STATES BANKRUPTCY JUDGE
